 

Case 1:09-cr-00213-DC Document 111

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
v.

BERNARD L. MADOFF,

Defendant.

 

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09-CR-213 (DC)

MEMORANDUM OF LAW IN SUPPORT OF VICTIMS’ MOTION FOR
RECONSIDERATION

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Preliminary Statement

Diane and Roger Peskin, Maureen Ebel and a large group of victims (the
“Victims”) of the fraud of Bernard L. Madoff who invested their life savings in Bernard
L. Madoff Investment Securities, LLC (“Madoff”) submit this memorandum of law with
respect to the Government’s motion for remission pursuant to 18 U.S.C. Section
3663A(c)(3).

The Victims agree with the Government that restitution to persons “directly and
proximately harmed” by the Madoff fraud is mandatory and that the Government has an
obligation under the Crime Victims’ Rights Act to ensure that crime victims receive “full
and timely restitution as provided in law.” 18 U.S.C. Sections 3663A(a)(1) and
3771(c)(1).

However, the Victims strongly object to the Government’s stated intention to seek
the assistance in the remission process of Irving H. Picard, the Trustee appointed at the
behest of the Securities Investor Protection Corporation (“SIPC”) in the liquidation of
Madoff pursuant to the Securities Investor Protection Act (“SIPA”). SIPC was formed to
assess its members, the SEC-regulated broker/dealers, so as to establish a fund to provide
insurance against the fraud or dishonesty of a broker or dealer.

Unfortunately, the 38-year history of SIPC proves that it has functioned like a
commercial insurance company, seeking to enrich itself at the expense of the insureds,
innocent investors who lost money because of the fraud or dishonesty of a broker or
dealer. Picard is the last person in the world who should be involved in the remission
process because he has proven, in the ten months of his appointment, that his loyalty is

solely to SIPC and he has violated the clear provisions of SIPA, its legislative history,

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and controlling Second Circuit authority in order to enrich SIPC at the expense of the
victims.

The Government mistakenly relies, for example, upon Picard’s analysis of the
customer claims. According to Picard, of the 15,870 claims that have been filed, only
2,336 are valid because only 2,336 customers had a net loss. Thus, Picard has reduced
the victims entitled to SIPC insurance from 15,870 to 2,336 and reduced SIPC’s
liabilities from more than $7 billion to approximately $1.2 billion.

However, the term “net loss” does not appear anywhere in SIPA. On the contrary,
as set forth in greater detail herein, SIPC is obligated under SIPA to “promptly” replace
securities held by each Madoff customer up to a value of $500,000 as reflected on the
November 30, 2008 statements received by each customer from Madoff. Picard, acting
as SIPC’s puppet, has devised a scheme to reduce SIPC’s exposure by inventing a new
statutory provision of SIPA pursuant to which victims are only entitled to SIPC insurance
if they have a net loss, over the life of their investment. There is no support for this
formulation under SIPA, its legislative history, its regulations, or the controlling Second
Circuit authority to which both SIPC and the Securities and Exchange Commission
(“SEC”) consented.

In fact, there is a very simple procedure for establishing the loss of the vast
majority of customers: one can simply look at their tax returns which reflect the payment
of tens of billions of dollars of taxes on purported income in the victims’ Madoff
accounts since the 1970’s. The only victims for whom this would not be a measure of

loss are IRA and other deferred benefit investors. But, as to these investors, the last

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account statements they received from their IRA custodians would accurately reflect their
losses.

The reason Picard has not abided by the clear provisions of SIPA is that SIPC
does not want to assess its members, the SEC-regulated broker/dealers, as it has been
required to do under SIPA. Congress repeatedly warned SIPC that it was under-funded.
Yet, SIPC chose to charge its members a mere $150 per year for the privilege of printing
on hundreds of billions of dollars of trade confirmations that the customers’ accounts
were insured up to $500,000 by SIPC. (Yes, Goldman Sachs paid a mere $150 per year
for SIPC insurance for all of its customers’ accounts.) Having provided essentially free
insurance to the financial services industry, which was vastly enriched by the public’s
reliance upon SIPC insurance, SIPC has now violated the public trust, through Picard, in
depriving the victims of the prompt replacement of up to $500,000 of securities listed on
their November 30, 2008 statements. Aside from the devastation Picard has caused to
thousands of customers, he has created a serious threat to the national economy because
he is single-handedly destroying investor confidence in the capital markets.

Thus, giving Picard a role in the remission process is like putting the fox in charge
of the hen house.

STATEMENT OF FACTS
The Court is respectfully referred to the accompanying declaration of Helen Davis

Chaitman dated September 29, 2009.

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ARGUMENT

SIPA REQUIRES SIPC TO PAY BASED UPON
THE CUSTOMER’S LAST STATEMENT

Pursuant to SIPA, Picard is obligated to “satisfy net equity claims of customers.”
15 U.S.C. § 78fff(a)(1)(A)-(B). SIPA defines “net equity” as the value of the securities
positions in the customer’s account as of the SIPA filing date, less any amount the
customer owes the debtor. This is the Statutory Balance of each customer’s account.

The term “net equity” means the dollar amount of the account or accounts
of a customer, to be determined by —

(A) calculating the sum which would have been owed by the debtor to
such customer if the debtor had liquidated, by sale or purchase on the
filing date, all securities positions of such customer . . .; minus

(B) any indebtedness of such customer to the debtor on the filing date. . .
15 U.S.C. §78I1I(11).

Congress specifically prohibited SIPC from changing any definitions contained in

§ 7811], which section includes the definition of “net equity.” As stated in SIPA:

SIPC shall have the power. . . to adopt, amend and repeal, by its Board of
Directors, such rules as may be necessary or appropriate to carry out the
purposes of this chapter, including rules relating to . . the definition of
terms in this chapter, other than those terms for which a definition is
provided in section 78Ill of this title. .

15 U.S.C. § 78ccc(b)(4)(A) (emphasis added). Because SIPC has no power to change the
statutory definition of “net equity,” SIPC has no power to employ a “cash in minus cash

out” definition of net equity in the Madoff case.

In a May 2001 Report, the United States General Accounting Office, wrote:
SIPC’s statutory mission is to promote confidence in securities

markets by allowing for the prompt return of missing customer cash
and/or securities held at a failed firm. SIPC fulfills its mission by

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initiating liquidation proceedings where appropriate and transferring
customer accounts to another securities firm or returning the cash or
securities to the customer by restoring to the customer accounts the
customer’s “net equity.” SIPA defines net equity as the value of cash
or securities in a customer’s account as of the filing date, less any
money owed to the firm by the customer, plus any indebtedness the
customer has paid back with the trustee’s approval within 60 days after
notice of the liquidation proceeding was published.

See Exh. A: GAO Report to the Ranking Minority Member, Energy and Commerce
Committee, House of Representatives entitled “Securities Investor Protection: Steps
Needed to Better Disclose SIPC Policies to Investors,” (the “GAO Report”) at 15;
emphasis added).

AT THE URGING OF SIPC AND THE SEC, THE SECOND CIRCUIT HAS
RECOGNIZED THE CORRECT DEFINITION OF “NET EQUITY”

The Second Circuit has recognized the statutory definition of net equity:
Each customer’s “net equity” is “the dollar amount of the account or
accounts of a customer, to be determined by calculating the sum which
would have been owed by the debtor to such customer if the debtor had
liquidated, by sale or purchase on the filing date, all securities positions of

such customer” corrected for “any indebtedness of such customer to the
debtor on the filing date.”

In re New Times Securities Services, Inc., 371 F.3d 68, 72 (2d Cir. 2004); see also
Securities Investor Protection Corp. v. BDO Seidman, LLP, 49 F. Supp. 2d 644, 649
(S.D.N.Y. 1999) (“As defined by SIPA, ‘net equity’ is the amount that the broker would
have owed a customer had it liquidated all the customer’s holdings on the date SIPC filed
for a protective decree, less any outstanding debt the customer owed to the broker.”); Jn
re Adler Coleman Clearing Corp., 247 B.R. 51, 61 n. 2 (B. S.D.N.Y. 1999) ¢°Net
equity’ is calculated as the difference between what the debtor owes the customer and

what the customer owes the debtor on the date the SIPA proceeding is filed.”).

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In the New Times case, SIPC voluntarily recognized its obligation under SIPA to
pay customers up to $500,000 based on their final brokerage statement, inclusive of
appreciation in their accounts, despite the fact that the broker had operated a Ponzi
scheme for a lengthy period and had never purchased the securities reflected on the
customers’ monthly statements. In fact, SIPC’s President, Stephen Harbeck, assured the
New Times bankruptcy court that customers would receive securities up to $500,000
including the appreciation in their accounts. As Mr. Harbeck explained, if customers
are led to believe that “real, existing” securities had been purchased for their accounts,
then those customers are entitled to get the full value of their securities positions as of the
filing date even if the securities had never been purchased:

MR. HARBECK: Even if they’re not there.

THE COURT: Even if they’re not there.

MR. HARBECK: Correct.

THE COURT: In other words, if the money was diverted, converted —
MR. HARBECK: And the securities were never purchased.

THE COURT: Okay.

MR. HARBECK: And, if those positions triple, we will gladly give the
people their securities positions.

Hearing Transcript at 37-38, In re New Times Sec. Servs. Inc., 371 F.3d 68 (B. E.D.N.Y.
2000) (emphasis added), annexed as Exh. B.

In a brief SIPC submitted to the Second Circuit in 2005, SIPC assured the
appeals court that its policy was to honor the legitimate expectations of investors,
even where the broker never purchased the securities. SIPC wrote:

[R]easonable and legitimate claimant expectations on the filing date are
controlling even where inconsistent with transaction reality. Thus, for

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example, where a claimant orders a securities purchase and receives a
written confirmation statement reflecting that purchase, the claimant
generally has a reasonable expectation that he or she holds the
securities identified in the confirmation and therefore generally is
entitled to recover those securities (within the limits imposed by
SIPA), even where the purchase never actually occurred and the
debtor instead converted the cash deposited by the claimant to fund
that purchase . . . [T]his emphasis on reasonable and legitimate claimant
expectations frequently yields much greater ‘customer’ protection than
would be the case if transactional reality, not claimant expectations, were
controlling, as this Court’s earlier opinion in this liquidation well
illustrates.

See Exh. C: Br. of Appellant SIPC, available at 2005 WL 5338148 (Dec. 27,
2005) at 23-24 (citing New Times)(emphasis added).

SIPC’s position in the Madoff case is directly contradicted, not only by SIPC’s
prior treatment of customers in New Times, but also by a statement that SIPC’s general
counsel, Josephine Wang, gave to the press on December 16, 2008 wherein Ms. Wang
acknowledged that a Madoff customer is entitled to the securities in his account:

Based on a conversation with the SIPC general counsel, Josephine Wang,

if clients were presented statements and had reason to believe that the

securities were in fact owned, the SIPC will be required to buy these

securities in the open market to make the customer whole up to $500K

each. So if Madoff client number 1234 was given a statement showing

they owned 1000 GOOG shares, even if a transaction never took place, the

SIPC has to buy and replace the 1000 GOOG shares.

See Exh. D: December 16, 2008 Insiders’ Blog,
http://www.streetinsider.com/Insiders+Blog/SIPCst+Role+In+Madoff-Of-All-
Scamst+Could+Save+The+Stock+Market/4243249 html

SIPC’s position conflicts with other federal statutes including the Internal
Revenue Code and ERISA. For example,

) IRS Form 4506 requires the IRS to destroy returns after seven

years. Yet, the Trustee is refusing to pay SIPC insurance to Customers who cannot
produce records of deposits dating back 15 — 20 years.

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(b) Rev. Proc. 2009-20, issued by Commissioner Shulman on March
17, 2009, expressly recognizes the income earned by Customers, on which they paid
taxes annually. Yet, the Trustee has taken the position that the income earned by
Customers is not their money.

(c) Rev. Proc. 2009-20 provides for a five-year carryback of the theft
loss. Yet, the Trustee has indicated he intends to “claw back” income withdrawn by
Customers over the last six years.

(d) Customers were required by law to take mandatory withdrawals
from their IRA accounts. Yet, the Trustee is deducting from SIPC insurance the
mandatory withdrawals that Customers took and paid taxes on.

Because of his refusal to comply with SIPA’s mandate that he “promptly” satisfy
customer claims based on the Statutory Balances, 15 U.S.C. § 78fff-3(a) and 4(c), Picard
has decided that he needs a vast team of forensic accountants to pore through decades of
records to determine each Customer’s net investment before SIPC pays any amount to a
Customer. Clearly, this is inconsistent with the statutory scheme and the legislative
intent.

Customers’ “securities positions” are readily ascertainable from their November
30, 2008 statements. Moreover, the Customers did not have any “indebtedness” to
Madoff. They did not owe Madoff any cash or securities since they did not borrow from
Madoff on margin. See H.R. Rep. No. 95-746, at 4754 (1977) (describing customers
owing cash or securities to the stockbroker as “margin customers”), Rich v. NYSE, 522
F.2d 153, 156 (2d Cir. 1975) (under the 1970 statutory regime, when there were shortages
of securities to satisfy “net equity” claims, customers received cash for their securities
“less, in the case of holders of margin accounts, amounts owed” to the broker); Jn re First

Street Sec. Corp., 34 B.R. 492, 497 (B. S.D. Fla. 1983) (offsetting indebtedness of

customer to broker from claim amount where unauthorized stock purchase was partially

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funded by borrowing on margin). Because the Customers have no indebtedness to
Madoff, there is no need to perform any calculations whatsoever to determine the amount
of Customers’ net equity. Their net equity is simply the “securities positions” set forth on
their last statements.

SIPC IS DESTROYING INVESTOR CONFIDENCE IN
DIRECT VIOLATION OF CONGRESSIONAL INTENT

The purpose of SIPA, as evidenced by its title, was to “protect” investors who
allowed the Financial Services Industry to hold their life savings in street name securities.
See, e.g, H.R. Rep. No. 91-1613, at 3-4 (1970)(“‘[SIPA] will reinforce the confidence that
investors have in the U.S. securities markets.”). See also In re New Times, 371 F.3d at 87
(“[Tjhe [SIPA] drafters’ emphasis was on promoting investor confidence in the securities
markets and protecting broker-dealer customers.”); Appleton v. First Nat’l Bank of Ohio,
62 F.3d 791, 794 (6" Cir. 1995) (“Congress enacted [SIPA] to . . . restore investor
confidence in the capital markets[ ] and upgrade the financial responsibility requirements
for registered brokers and dealers.”)(citations omitted). SIPA attempted to do this
initially by satisfying customers’ “net equity” claims for securities with actual securities
only if the debtor held securities of the appropriate class and kind to satisfy customers’
claims, while otherwise customers would receive the cash equivalent of the value of their
securities on the filing date. SIPA § 6(c)(2)(B)-(D), Pub. L. No. 91-598, 84 Stat. 1636,
1648-50 (1970); H.R. Rep. No. 95-746 (39-41)(statement of SIPC Chairman Hugh F.
Owens).

When SIPA was amended in 1978, the goal was to fix “{o]ne of the greatest
shortcomings of the procedure under the 1970 Act, to be remedied by [the 1978

amendments], /i.e./,... the failure to meet legitimate customer expectations of

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receiving what was in their account at the time of their broker’s insolvency.” D 922
Cong. Rec. H. 36326 (daily ed. Nov. 1, 1977)(statement of Rep. Robert C.
Eckhardt)(emphasis added). See also Hearing on H.R. 8064 Before the Subcomm. on
Consumer Protection and Finance of the H. Comm. On Interstate and Foreign Commerce,
94tn Cong. 63 (1975)(“The basic framework of the 1970 Act in regard to satisfaction of
customers’ claims should be modified to better meet the legitimate expectations of
customers.”) (report to the SIPC Board of Directors by the Special Task Force to consider
possible amendments to SIPA); Hearing on H.R. 8331 before the Subcomm. on
Consumer Protection and Finance of the H. Comm. on Interstate and Foreign Commerce,
95" Cong. 81 (1977) (“The proposed [1978] amendments carry out the Task Force
recommendations and are designed to make the Act more responsive to the reasonable
expectations of investors.”) (statement of SIPC Chairman Hugh F. Owens); Hearing on
H.R. 8064 Before the Subcomm. on Consumer Protection and Finance of the H. Comm.
on Interstate and Foreign Commerce, 94" Cong. 161-162 (“{T]he principal purpose of
these amendments is to meet more nearly the reasonable expectations of brokerage firm
customers.”)(statement of SEC Commissioner Philip A. Loomis, Jr.).

A customer’s reasonable expectations were that their actual securities, as shown
on their statements, would be returned to them “in the form they existed on the filing
date.” H.R. Rep. No. 95-746, at 21. Thus, SIPA was amended to state that “[t]he trustee
shall, to the extent that securities can be purchased in a fair and orderly market, purchase
securities as necessary for the delivery of securities to customers in satisfaction of their
claims for net equities. ..” 15 U.S.C. § 78fff-2(d); SIPA § 8(d), Pub. L. No. 95-283, 92

Stat. 249, 263 (1978).

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Here, the legitimate expectations of the Customers were contained in the account
statements and trade confirmations they received. They expected that their accounts held
the securities reflected therein. Thus, recognizing Customer claims in the amount of their
Statutory Balances will further the goals of SIPA, as memorialized in the legislative
history.

CONGRESS INTENDED TO PROTECT VICTIMS OF A PONZI SCHEME

Congress specifically contemplated that “securities positions” reflected in a
customer’s statements could include securities that were never actually purchased, as was
the case here. The Senate and House Reports on the 1978 amendments to SIPA show
that SIPA was intended to cover securities that the broker-dealer did not actually
purchase:

Under present law, because securities belonging to customers may have
been lost, improperly hypothecated, misappropriated, never purchased or
even stolen, it is not always possible to provide to customers that which
they expect to receive, that is, securities which they maintained in their
brokerage account. .. By seeking to make customer accounts whole and
returning them to customers in the form they existed on the filing date, the
amendments. .. would satisfy the customers’ legitimate expectations. ...

S. Rep. No. 95-763, at 2 (1978) (emphasis added).

A customer generally expects to receive what he believes is in his account
at the time the stockbroker ceases business. But because securities may
have been lost, improperly hypothecated, misappropriated, never
purchased, or even stolen, this is not always possible. Accordingly,
[when this is not possible, customers] will receive cash based on the
market value as of the filing date.

H.R. Rep. No. 95-746 at 21 (emphasis added).

THE SEC AND SIPC REPRESENTED TO THE SECOND CIRCUIT, IN NEW
TIMES, THAT IT WAS APPROPRIATE TO RECOGNIZE THE
APPRECIATION IN ACCOUNTS OF CUSTOMERS WHO HAD A
LEGITIMATE EXPECTATION THAT THE STATEMENTS WERE ACCURATE

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In New Times, SIPC and the SEC took the position that the claims of customers
who received trade confirmations and account statements reflecting the purchase of real
securities should be allowed in the amount of their last statements. The Madoff
customers are in the exact same position as the New Times customers whose claims were
satisfied — they all received statements showing securities positions in actual, existing
securities.

New Times’ principal, William Goren, engaged in a “classic Ponzi scheme” where
new investors’ money was used to pay earlier investors. In re New Times Sec. Servs. Inc.
(“New Times I”), 371 F.3d 68, 72 n.2 (2d Cir. 2004). However, while Madoff presented
Customers with trade confirmations and statements showing securities positions in real
securities, only some New Times customers were presented with statements showing
investments in mutual funds that actually existed (the “Existent Securities”); the
remaining New Times customers received statements showing that they were invested in
money market funds that were totally fictitious (the “Non-Existent Securities”). 371 F.3d
at 71-72.

SIPC treated the two categories of customers differently. SIPC applied the
statutory net equity definition to the Existent Securities customers’ claims by paying the
claims according to the full value of those securities positions as of the date of the
liquidation filing, and the Second Circuit endorsed that treatment. However, with
respect to customers whose statements showed Non-Existent Securities, SIPC used the
net investment methodology that the Trustee is using in this case. The customers with
Non-Existent Securities appealed SIPC’s treatment. The Second Circuit took particular

note of SIPC’s position:

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investors who were misled by Goren to believe that they were investing in

mutual funds that in reality existed were treated much more favorably.
Although they were not actually invested in those real funds — because
Goren never executed the transactions, the information that these
claimants received on their account statements “mirrored what would have

happened had the given transaction been executed.” [Br. for New Times

Trustee and SIPC] at 7n.6. Asa result, the Trustee deemed those

customers’ claims to be “securities claims” eligible to receive up to

$500,000 in SIPC advances. Jd. The Trustee indicates that this disparate

treatment was justified because he could purchase real, existing securities

to satisfy such securities claims. Jd. Furthermore, the Trustee notes that,

if they were checking on their mutual funds, the “securities claimants,” in

contrast to the “cash claimants” bringing this appeal, could have

confirmed the existence of those funds and tracked the funds’ performance

against Goren’s account statements. Jd.

New Times I, 371 F.3d at 74.

The Second Circuit found that the customer’s legitimate expectations based on
written confirmations and account statements control how a “net equity” claim is
determined, citing SIPC’s Series 500 Rules, 17 C.F.R. §§ 300.500-300.503, which
confirm the importance of written confirmations. The Court explained that “the premise
underlying the Series 500 Rules [is] that a customer’s ‘legitimate expectations’ based on
written confirmations of transactions, ought to be protected.” 371 F.3d at 87. It noted
that “Under the Series 500 Rules, whether a claim is treated as one for securities or cash
depends not on what is actually in the customer’s account, but on what the customer has
been told by the debtor in written confirmations.” Jd at 86 (emphasis in original). See
also In re Oberweis Sec., Inc., 135 B.R. 842, 847 n. 1 (B. N.D. Ill. 1991) (“The court
agrees with the trustee’s argument that Congress did not intend to treat customers without
confirmations the same as those with confirmations; that customers with confirmations
have a legitimate expectation of receiving securities, but customers without confirmations

do not have the same expectation.”’).

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In contrast to those New Times customers whose statements showed Existent
Securities, the Second Circuit held that the net equity of New Times customers whose
statements showed Non-Existent Securities should be determined as the amount of
money invested minus any withdrawals. New Times I, 371 F.3d at 88. The court held
that customer recoveries based on “fictitious amounts in the firm’s books and records
would allow customers to recover arbitrary amounts that necessarily have no relation to
reality.” Jd. Obviously, customers whose confirmations indicated the purchase of Non-
Existent Securities could not have had a legitimate expectation that they owned those
securities. Thus, only when securities positions “necessarily have no relation to reality,”
i.e., are based on securities that do not exist, should a “cash in minus cash out”
methodology be employed.

Each Madoff customer received trade confirmations and account statements
showing investments in real securities. Thus, each Customer had a legitimate expectation
that he owned the assets shown on his last statement and is entitled to a claim in the
amount of the balance on his November 30, 2008 statement.

In New Times I, a different Second Circuit panel considered related issues and
found, once again, “[i]t is a customer’s legitimate expectations on the filing date . . . that
determines the availability, nature and extent of customer relief under SIPA.” Jn re New
Times Sec. Servs., Inc. 463 F.3d 125, 128 (2d Cir. 2006) (New Times II). The Second
Circuit in New Times IJ added that, in the case of customers who believed they held
fictitious securities:

Because there were no such securities, and it was therefore impossible to

reimburse customers with the actual securities or their market value on the

filing date (the usual remedies when customers hold specific securities),
the [New Times I Court] determined that the securities should be valued

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according to the amount of the initial investment. The court declined to
base the recovery on the rosy account statements telling customers how
well the imaginary securities were doing, because treating the fictitious
paper profits as within the ambit of the customers’ “legitimate
expectations” would lead to the absurdity of “duped” investors reaping
windfalls as a result of fraudulent promises made on fake securities .. .
The court looked to the initial investment as the measure for
reimbursement because the initial investment amount was the best proxy
for the customers’ legitimate expectations.

New Times I, 463 F.3d at 129-30 (citations omitted).

SIPC and the New Times Trustee valued Existent Securities customers’ claims in
accordance with the statutory definition of net equity even when those claims included
mutual fund shares that were purchased through “dividend reinvestments,” despite the
fact that since the initial securities had never been purchased, the customers had received
no dividends to reinvest. Specifically:

[I]Jnvestors who believed that their accounts held shares of mutual funds
that actually existed (but were never purchased for their accounts) are
having their claims (both as to shares of mutual funds never purchased by
Goren and shares shown in customer statements as purchased through
dividend reinvestment) satisfied by the Trustee up to the statutory
maximum of $500,000.

See Exh. E: Claimants’ Joint Mem. of Law in Opposition to Joint Motion of Trustee and
SIPC for Order Upholding Determinations at 3, SEC v. Goren 206 F. Supp. 2d 344
(E.D.N.Y. 2002) (No. 00-CV-970).

[Whereas the Trustee has disallowed that portion of the claim of [the
Non-existent Securities] investors representing shares of [the Non-existent
Securities] purchased through dividend reinvestment, the Trustee has
allowed that portion of the mutual fund investors’ claims [i.e., “Existent
Securities” investors’ claims] as represents shares of such mutual funds
purchased by them through dividend reinvestment.

See Exh. F: Limited Objection to Trustee’s Determination of Claim at 6 n.4, SEC v.
Goren, 206 F. Supp.2d 344 (E.D.N.Y. 2002) (No. 00-CV-970).

SIPC and the Trustee described their method in the New Times liquidation:

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In every case [of an ‘Existent Security’ customer], the Trustee has been

able to identify the actual mutual fund in question by cross-checking the

information supplied by Goren on the customer statements, including

share price information, with publicly available information and then been

able to purchase that security.

See Exh. G: Joint Mem. of Law in Support of Trustee’s Motion for an Order Upholding
the Trustee’s Determinations with Respect to Claims Filed for Investments in Non-
Existent Money Market Funds and Expunging Objections to Those Determinations, SEC
v. Goren, F. Supp. 2d 344 (E.D.N.Y. 2002) (No. 00-CV-970). They further stated that
where customers’ statements reflected securities positions in closed mutual funds, “the
Trustee properly gave the customers cash equal to the filing date values of the closed
mutual funds.” Reply Mem. in Further Support of Trustee’s Motion for Order Upholding
Determinations at 20, S.E.C. v. Goren.

Even when challenged regarding their position by customers of the “Non-existent
Securities,” SIPC (and the SEC) stood by their approach with respect to the Existent
Securities customers. In an amicus curiae brief, the SEC stated “[o]ur view [is] that
when possible, SIPA should be interpreted consistently with a customer’s legitimate
expectations based on confirmations and account statements.” See Exh. H: Br. of the
SEC, Amicus Curiae, In Partial Support of the Position of Appellants and In Partial

Support of the Position of Appellees (“SEC Amicus Curiae Brief”) at 13, New Times I

(No. 02-6166).

The briefs filed by SIPC and the New Times’ Trustee likewise stated that:

In those cases [concerning the payment of interest and dividends on bona
fide mutual funds] the claimants had an objectively legitimate expectation
of receiving interest/dividends because the security in question had
actually earned them. Here, the bogus mutual fund [the Fictitious New

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Age Fund] was never organized as a mutual fund and had no assets or
investments.

See Exh. I: Br. for Appellants James W. Giddens as Trustee for the Liquidation of the
Businesses of New Times Securities Services, Inc. and New Age Financial Services, Inc.
and Securities Investor Protection Corporation, at 38, New Times I (No. 02-6166).
SIPC stated in its brief in New Times II that:
[R]easonable and legitimate claimant expectations on the filing date are
controlling even where inconsistent with transaction reality. Thus, for
example, where a claimant orders a securities purchase and receives a
written confirmation statement reflecting that purchase, the claimant
generally has a reasonable expectation that he or she holds the
securities identified in the confirmation and therefore generally is
entitled to recover those securities (within the limits imposed by
SIPA), even where the purchase never actually occurred and the
debtor instead converted the cash deposited by the claimant to fund
that purchase . . . [T]his emphasis on reasonable and legitimate claimant
expectations frequently yields much greater ‘customer’ protection than
would be the case if transactional reality, not claimant expectations, were

controlling, as this Court’s earlier opinion in this liquidation well
illustrates.

See Exh. C: Br. of Appellant SIPC, available at 2005 WL 5338148 (Dec. 27, 2005) at 23-
24 (citing New Times)(emphasis added). Thus, SIPC recognized that it is “claimant
expectation,” rather than “transactional reality” that controls.

There were no “imaginary securities” listed on the Madoff account statements.
Thus, New Times II does not apply. Yet, in direct contravention of SIPC’s position in
New Times, in which SIPC “gladly” paid customers whose statement showed Existent
Securities that were never purchased their full claims, even if the actual securities’ value
had “triple[d],” here, Picard has refused to recognize the Customers’ Statutory Balances.

Madoff customers had the legitimate expectation that they owned real securities.

Indeed, they could have had no other expectation, based upon the trade confirmations and

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account statements they received. Thus, SIPC must employ the same method used in

New Times and honor customer claims in the amount of their Statutory Balances.

CONCLUSION
Given Picard’s violation of the public trust and violation of the explicit provisions
of SIPA, the Victims respectfully request that the Court condition the grant of the
Government’s remission motion on its recognition of the Madoff customers’ claims as
the amount reflected on their November 30, 2008 statements.
September 29, 2009

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